Case 1:20-cv-01744-CFC Document 136 Filed 08/20/24 Page 1 of 2 PageID #: 2264




                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

UNITED STATES OF AMERICA,                      )
                                               )
              Plaintiff,                       )
                                               )
       v.                                      )   C.A. No. 20-1744-CFC
                                               )
WALMART INC. AND WAL-MART STORES               )
EAST, LP,                                      )
                                               )
              Defendants.

                                    NOTICE OF SERVICE

       I, Katherine M. Ho, hereby certify that on August 20, 2024, Plaintiff United States of

America served true and correct copies of the United States of America’s First Set of Requests

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Dated: August 20, 2024                   ///
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                                         By: /s/ Katherine M. Ho
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